
In re Morgan, Cedrick; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of E. Baton Rouge, 19th Judicial District Court Div. L, No. 07-04-0479; to the Court of Appeal, First Circuit, No. 2013 KW 1123.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; See also State v. Cotton, 09-2397 (La.10/15/10), 45 So.3d 1030.
